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Date: Sat, 14 May 2016 5:29:12 AM -0400

Sent: Sat, 14 May 2016 5:26:48 AM -0400

Subject: need wires--Important!

From: _ tracy <tracy@benlida.com>

To: Rishi Kukreja <RishiK@circuitronix.com>;
ce: Douglas@benlida.com;
Dear Rishi,

As we put out again and again, we need at least 2 million USD wire in May from CTX as cash float needed.

Accounting gap is clear as following:

1) 2015 invoice difference between CTX and BLD/ROK is around 1 million USD.
2) Leadtime penalty on orders of Jan~Jul 2015 should be partially put on hold since calculation model has

not come out final agreement, amount is around 750K.
3) PQ26 and Imm Tin board leadtime exceeding penalty waving, and Imm Tin line you have agreed on last

meeting, total around 420K.
4) Those we have not started discuss about the number but really exsiting, such as Enthone OSP and

discount discrepancy in 2013~2014, total around 330K.

So in our account system, above 2.5 million is included in due receivable amount, by end fo April 2016 due
receivable amount Is around 1 million, adding due receivable amount another 1 million in May, total due

amount is 2 million.

Currently credit limit on CTX account is 3 million USD, total receivable + wip value in two factory reach to
10.5 million USD. Big boss request me at least collect over due amount from CTX within next week,

otherwise I can not release CTX orders.

Please do understand and wire USD600K to ROK and USD500K to Benlida a.s.a.p. Again, we really need
this money to keep us running usually.

Thank you.

RGDS

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Jlangmen Benlida Printed Circuit Board Cooperation

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